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Suprene Court of California

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE

STATE OF CALIFORNIA

ASHOK RAMANI

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify ASHOK RAMANI #200020 was on the 7" day of December
1998 duly admitted to practice as an attorney and counselor at law in all the courts of this
state, and is now listed on the Roll of Attorneys as a member of the bar of this state in good

standing.

Witness my hand and the seal of the court
on this day of December 10", 2024.

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme€ourt

By: aN
FB ye Deputy Clerk

